                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

                                    DOCKET NO. 3:10CR104

UNITED STATES OF AMERICA,        )
                Plaintiff,       )
                                 )
       v.                        )                           CONSENT ORDER FOR
                                 )                          THIRD PARTY PETITION
(1) TERRY SCOTT WELCH,           )
                  Defendant.     )
________________________________ )
PETITION OF BRANCH BANKING AND )
TRUST COMPANY.                   )


       THIS MATTER is before the Court by consent of the United States of America, by and

through Anne M. Tompkins, United States Attorney for the Western District of North Carolina,

and Petitioner Branch Banking and Trust Company,1 through counsel, pursuant to Fed. R. Crim.

P. 32.2(c). The Government and Petitioner have consented to this Consent Order for Third

Party Petition as a final adjudication and settlement of all matters between Petitioner and the

Government with regard to the real property at 208 Paradise Peninsula, Mooresville, North

Carolina (hereafter, Athe Paradise Peninsula Property@) and the real property at Lot 5 of Clipper=s

Run Subdivision, Iredell County, North Carolina (hereafter, Athe Clipper=s Run Property@), more

particularly identified in the Consent Order and Judgment of Forfeiture (Doc. 14).




       1
          Although Petitioner did not timely file a petition in this action, Petitioner has provided
the Government with sufficient documentation to justify the Government exercising its
discretion under 21 U.S.C. ' 853(i)(2) to consent to the relief herein. Therefore, the
Government consents to the Court treating the facts set forth in this proposed Consent Order as
satisfactory for purposes of the formal petition filing requirements of 21 U.S.C. ' 853(n)(3).



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       The parties have STIPULATED AND AGREED and the COURT FINDS AS

FOLLOWS:

       1.      Petitioner has provided documentation to the Government that Petitioner provided

an equity line of credit to Terry Scott Welch and his wife, Amy Owens Welch (ABorrowers@),

secured that line of credit via a Deed of Trust on the Paradise Peninsula Property, and has

satisfied 21 U.S.C. ' 853(n)(6). However, during the ancillary proceeding in this matter,

although Petitioner was provided direct notice via Certified Mail of the statutory mechanism and

time period for filing a petition asserting an interest in the Paradise Peninsula Property, Petitioner

did not timely assert an interest in the Paradise Peninsula Property, the Clipper=s Run Property,

or any other property identified in the Consent Order.

       2.      Following issuance of the Consent Order and Judgment of Forfeiture and

Petitioner=s receipt of service of the Consent Order and Judgment of Forfeiture, Petitioner

obtained a Default Judgment in Iredell County District Court (Case 10-CVD-3807) against

Borrowers. The Default Judgment ordered Borrowers jointly and severally liable to pay,

amongst other amounts, $174,999.30 in principal to Petitioner. The Default Judgment now

appears in a title search on the Paradise Peninsula Property and the Clipper=s Run Property.

       3.      By entering into this Consent Order, Petitioner agrees to, upon the closing of the

sale of the Paradise Peninsula Property, release and forever discharge its interest in the

above-referenced Paradise Peninsula Property and release any deeds of trust, liens, and

judgments on the Paradise Peninsula Property.      In addition, Petitioner agrees to, upon the

closing of the sale of the Clipper=s Run Property, release and forever discharge its interest in the



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above-referenced Clipper=s Run Property and release any deeds of trust, liens, and judgments on

the Clipper=s Run Property.   In exchange for release of the interest, deeds of trust, liens, and

judgments, the Government agrees to, upon sale of the Paradise Peninsula Property by the

Government, pay Petitioner fifty percent of the net sale proceeds.2    For purposes of this Consent

Order, the term, Anet sale proceeds,@ shall mean any proceeds remaining after the Government

has recovered the costs and expenses of maintaining and liquidating the Property, including but

not limited to payments to any lien-holders who precede Petitioner in the chain of title.

However, regardless of the amount of net sale proceeds obtained by the Government, in no event

shall Petitioner be entitled to payment in excess of $87,499.65 (half of the principal amount due

and owing to Petitioner pursuant to the promissory note).

       4.      The payment to Petitioner shall be in full settlement and satisfaction of all claims

by Petitioner to the Paradise Peninsula Property and Clipper=s Run Property, all claims by

Petitioner arising from any note or default judgment, the indebtedness for which is secured by

the Paradise Peninsula Property and Clipper=s Run Property, and all claims by Petitioner against

the United States resulting from the incidents or circumstances giving rise to this case.




       2
          The U.S. Attorney=s Office intends to request approval from the Attorney General that
the remaining net proceeds after recovery of costs and expenses and payments to any lienholders
be Arestored@ to the Court to pay victims pursuant to 21 U.S.C. ' 853(i).


                                                 3


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       5.      Petitioner agrees not to pursue against the United States any rights that it may

have under the deed of trust on the Paradise Peninsula Property or the default judgment,

including but not limited to the right to initiate foreclosure. Petitioner consents to any

Government motion for final order of forfeiture of the Paradise Peninsula Property or Clipper=s

Run Property. Petitioner understands and agrees that the United States reserves the right to

terminate the forfeiture action at any time. Petitioner and the Government agree to execute

further documents to convey clear title to the Paradise Peninsula Property and Clipper=s Run

Property to the United States and implement this Consent Order, to the extent such action is

necessary.

       6.      The Government and Petitioner waive any rights to further litigate between each

other in this forfeiture action and agree that this Consent Order for Third Party Petition shall be

in full settlement and satisfaction of all claims between Petitioner and the Government in this

action and all claims between Petitioner and the Government resulting from the incidents or

circumstances giving rise to the forfeiture.

       7.      Unless specifically directed by an order of the Court, Petitioner shall be excused

and relieved from further participation in this action.



       IT IS THEREFORE ORDERED THAT:

       1.      Based upon the stipulations of the parties herein that Petitioner satisfies one or

more prongs of 21 U.S.C. ' 853(n)(6) but did not timely comply with the procedures set forth in

Fed. R. Crim. P. 32.2 and 21 U.S.C. ' 853(n), Petitioner is hereby ordered to release and forever

discharge any interest in, deeds of trust on, liens, and/or judgments, to the extent that such

interest, deeds, liens, or judgments affect title to the Paradise Peninsula Property and Clipper=s

                                                  4


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Run Property, and the Government is hereby ordered to, upon sale of the Paradise Peninsula

Property, disburse fifty percent of net sale proceeds to Petitioner, up to but not exceeding

$87,499.65.




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      2.     The Government and Petitioner shall bear their own costs, including attorney fees.




ON MOTION OF AND
BY CONSENT OF THE PARTIES:

ANNE M. TOMPKINS
UNITED STATES ATTORNEY
_________________________________         Dated:__________________
Benjamin Bain-Creed
Assistant United States Attorney


_________________________________          Dated:__________________
________________________(Name)
________________________(Title)
Officer of Petitioner Branch Banking and Trust


_________________________________         Dated:__________________
Joe Thompson, Esq.
Rogers Townsend Attorneys at Law
Attorney for Petitioner




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